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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARTA BUENO,
                             Plaintiff,           21-cv-535   (JGK)

               - against -

EUROSTARS HOTEL COMPANY, S.L., FRONT              MEMORANDUM OPINION
PROPERTY HOTEL CORPORATION, AMANCIO               AND ORDER
LOPEZ SEIJAS, and CRISTINA MARROQUI,
                            Defendants.

JOHN G. KOELTL, District Judge:

     The plaintiff, Marta Bueno, brought this action against

Euro stars Hotel Company S .L.   ("EHC"), Front Property Hotel

Corporation ("Front"), Amancio Lopez Seijas ("Mr. Lopez"), and

Cristina Marroqui   ("Ms. Marroqui"), alleging age and pregnancy

discrimination in violation of Title VII of the Civil Rights Act

of 1964, 42 U.S.C. § 2000e et seq.        ("Title VII"), as amended by

the Pregnancy Discrimination Act of 1978, 42 U.S.C. § 2000e(k);

the New York State Human Rights Law, N.Y. Executive Law§ 290 et

~     ("NYSHRL"); and the New York City Human Rights Law, New

York City Administrative Code § 8-101 et seq.        ("NYCHRL")

     EHC, Mr. Lopez, and Ms. Marroqui move to dismiss the

complaint in its entirety pursuant to Federal Rules of Civil

Procedure 12 (b) (1),   (2), and (6). ECF No. 23. Front joins in the

motion seeking partial dismissal of the plaintiff's claims for

age discrimination pursuant to Federal Rule of Civil Procedure




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 12 (b) (6). Id. For the reasons that follow,                    the motion to dismiss

 is granted in part and denied in part.

                                                 I.

             The following facts are taken from the plaintiff's amended

complaint and the documents referenced therein and are accepted

as true for purposes of this motion.

             The plaintiff, Marta Bueno, is a 43-year-old woman who

resides in New York, New York. Am. Compl.                     'll'll   10-11, ECF No. 15.

The corporate defendants, EHC and Front, are hotel companies.

Id.       'll'll   13, 18. The plaintiff alleges that EHC operates two

hotels in New York City and employs 22 people there, and that

Front co-operates one of these New York hotels with EHC. Id.                           'll'll


13-14, 18. The co-operated hotel is located at 129 Front Street

 (the "Front Street Hotel").                  Id. 'II 18. The individual defendants,

Mr. Lopez and Ms. Marroqui, are employees of both companies and

reside in Spain. Id.             'll'll   21, 23, 26, 28. Mr. Lopez is the owner

and Chief Executive Officer                   ("CEO")   of EHC and Front, id. 'II 21,

and Ms. Marroqui is the International Sales Manager of both

companies, id. 'II 26. At all relevant times, Mr. Lopez is alleged

to have "closely surveilled" the businesses of EHC and Front,

and "closely controlled all aspects related to employee

management," including hiring and firing.                     Id. 'II 52; see also id.

'll'll   53-63. The plaintiff also alleges that both Mr. Lopez and Ms.




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Marroqui traveled to New York approximately four times per year

as part of their employment with EHC and Front.       Id. 11 23, 28.

     The plaintiff alleges that she was jointly employed by EHC

and Front between October 2007 and February 25,       2020.   Id. 11 15,

20. When the plaintiff was initially hired, she was employed at

the corporate defendants' hotel in Barcelona, Spain, where she

worked for approximately six years. Id. 11 37-40. In 2013, "due

to [the plaintiff's] outstanding performance," Mr. Lopez

promoted her to serve as the Chief Operating Officer ("COO")            of

the Front Street Hotel in New York City, where she was

transferred. Id. 1 40. At the time of this promotion, the

plaintiff was 35 years old,    single, and had no children.      Id. 1

45. The plaintiff claims that her "status as a young single

woman with no children fit into [Mr. Lopez's] preference of

hiring individuals under the age of 40, and if women, preferably

with no children." Id. 1 46.

     In 2015, the plaintiff's duties were expanded to include

management of EHC's other hotel in New York City.       Id. 1 47.

Around this time, the plaintiff received a new employment

agreement that provided for paid maternity leave for four

months. Id. 11 48-49. This employment agreement listed EHC's

previous corporate name, Agincort 2008 S.L.U, as the corporate

employer.   Id. 1 48.




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     On or about February 1, 2018, Ms. Marroqui became the

plaintiff's supervisor. Id.             ~   64. The plaintiff alleges that she

and Ms. Marroqui soon became friends,                 id.    ~   68, and that Ms.

Marroqui confided in her that she "hated" her friends when they

became pregnant, id.      ~       69.

     In December 2019,            the plaintiff informed Ms. Marroqui of

her desire to use in vitro fertilization ("IVF") tp have a

child. Id.~ 74. The plaintiff claims that she told Ms. Marroqui

that IVF was her "only option" to become pregnant because she

was 41 years old at the time. Id. Ms. Marroqui allegedly

responded, "[T]hat's nice, but                     . Mr. Lopez doesn't like

people taking leave because it ends up being a cost for the

company." Id.~ 75. Nonetheless, on January 3, 2020, the

plaintiff told Ms. Marroqui that she would begin IVF treatments

later that month.   Id.       ~   76. Ms. Marroqui was allegedly annoyed,

id.~ 77, and told Mr. Lopez of the plaintiff's plans to become

pregnant, id.~ 78.

     On January 30,    2020, the plaintiff began IVF treatments,

id. 1 79, and on February 20, 2020, she received confirmation

that her IVF procedure had been successful and that she was

pregnant, id. 1 80. On February 20, the plaintiff shared this

news with Ms. Marroqui, who was "clearly taken aback." Id. 1~

81-83. The plaintiff claims that Ms. Marroqui told Mr. Lopez

about the plaintiff's pregnancy.                 Id. 1 85.

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      On February 25, 2020, five days after sharing the news of

her pregnancy with Ms. Marroqui, the plaintiff received a letter

that her employment with EHC and Front had been terminated.          Id.

!! 86-87. The letter was signed by "Front Property Hotel

Corporation" on a letterhead bearing the name "Eurostars ." Id.

a t ! 87; ECF No. 34-10. The letter "provided no basis" for the

plaintiff's termination, and the plaintiff received no oral

explanation for it. Am. Compl. !! 87-88. The plaintiff claims

that she never received any warnings or bad reviews during her

13-year employment with EHC and Front, and, to the contrary,

that her record was "impeccable." Id. !! 96-97.

      On or about April 1, 2020, the plaintiff filed a charge

with the Equal Employment Opportunity Commission ("EEOC")

alleging gender and pregnancy discrimination against EHC and

Front. Id. ! 33. On or about September 25, 2020, she received a

right-to-sue letter in connection with this charge.         Id. ! 34. On

January 21, 2021, the plaintiff filed a complaint in this Court,

ECF No. 1, which she amended on May 7, 2021, ECF No. 15.

                                   II.

                                    A.

      EHC, Mr. Lopez, and Ms. Marroqui move to dismiss the

plaintiff's claims pursuant to Federal Rule of Civil Procedure

12 (b) (1)   for lack of subject matter jurisdiction. The plaintiff

bears the burden of proving the Court's subject matter

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    jurisdiction by a preponderance of the evidence. Aurecchione v.

Schoolman Transp. Sys., Inc., 426 F.3d 635, 638            (2d Cir. 2005)   1



In considering such a motion, the Court generally must accept

the material factual allegations in the complaint as true. See

J.S. ex rel. N.S. v. Attica Cent. Schs., 386 F.3d 107, 110 (2d

Cir. 2004). The Court does not, however, draw all reasonable

inferences in the plaintiff's favor. Id. Indeed, where

jurisdictional facts are disputed, the Court has "the power and

the obligation to consider matters outside the pleadings," such

as affidavits and documents, to determine whether subject matter

jurisdiction exists. See Parks v. Off. of Temp.            &   Disability

Assistance, 675 F. Supp. 2d 440,            441 (S.D.N.Y. 2009)   (collecting

cases) . In so doing, the Court "may not rely on con cl usory or

hearsay statements contained in the affidavits," Attica, 386

F.3d at 110, but is instead guided by that body of law that has

developed under Federal Rule of Civil Procedure 56, Kamen v. Am.

Tel.    &   Tel. Co., 791 F.2d 1006, 1011 (2d Cir. 1986); see, e.g.,

Parks,      675 F. Supp. 2d at 441.

                                       B.

        In this case, the Court has subject matter jurisdiction

over the plaintiff's claims on the basis of federal question

jurisdiction and supplemental jurisdiction. The plaintiff


1 Unless otherwise noted, this Memorandum Opinion and Order omits all
alterations, citations, footnotes, and internal quotation marks in quoted
text.

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appears to concede that diversity ju risdiction is lacking in

this case.

     Pursuant to 28 U.S.C. § 1331, district courts have subject

matter jurisdiction over "all civil actions arising under the

United States Constitution and the laws and treaties of the

United States.   11   This "federal question 11 jurisdiction is properly

invoked when federal causes of actions are "colorably" pleaded

in the plaintiff's complaint. See Goldman v. Sol Goldman Invs.,

LLC, No. 20-cv-06727, 2021 WL 4198253, at *2 (S.D.N.Y. Sept. 14,

2021). Once a basis for federal question jurisdiction is

satisfied, the Court may elect to exercise supplemental

jurisdiction "over all other claims that are so related to

claims in the action within such original jurisdiction that they

form part of the same case or controversy under Article III of

the United States Constitution.      11
                                              28 U.S.C. § 1367(a). This

includes "nonfederal claim[s] between parties litigating other

matters properly before the court," or the addition of

independent parties, when the claims against those parties arise

"out of the same common nucleus of operative facts as the claims

against the other named parties." Schinella v. Soyer, No. 19-cv-

8931, 2021 WL 4255055, at *4 (S.D.N.Y. Sept. 16, 2021); accord

Briarpatch Ltd., L.P. v. Phoenix Pictures, Inc., 373 F.3d 296,

308 (2d Cir. 2004). Unless one of the restrictions provided in§

1367(c) applies, this exercise of supplemental jurisdiction "is

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a favored and normal course of action.ll Promisel v. First Am.

Artificial Flowers, Inc., 943 F.2d 251, 254 (2d Cir. 1991).

      The Court here has federal question jurisdiction over the

plaintiff's claims that the corporate defendants violated Title

VII, because claims under Title VII necessarily require the

application of federal law.       See Fort Bend Cnty. v. Davis, 139 S.

Ct. 1843, 1850    (2019) . 2 And, because the plaintiff's Title VII

claims against EHC and Front are factually intertwined with her

nonfederal claims against them and the individual defendants,

the Court has supplemental jurisdiction over these additional

claims. See Treglia v. Town of Manlius, 313 F.3d 713, 723 (2d

Cir. 2002)   (recognizing that the common nucleus concept

encompasses claims that arise �out of approximately the same set

of events" as the jurisdiction-invoking claim); Schinella, 2021

WL 4255055, at *4. Finding no reason to deny the exercise of

jurisdiction on the basis of§ 1367(c), the defendants' motion

to dismiss pursuant to Federal Rule of Civil Procedure 12(b) (1)

is denied.

                                    III.

                                     A.

     EHC, Mr. Lopez, and Ms. Marroqui also move to dismiss the

plaintiff's claims pursuant to Federal Rule of Civil Procedure


2 The plaintiff explicitly abandoned her Title VII claims against the

individual defendants in her opposition brief. The motion to dismiss is
therefore granted as to those claims.

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12 (b) (2)   for lack of personal jurisdiction. When a motion to

dismiss for lack of personal jurisdiction is decided on the

basis of affidavits and other written materials,        the burden is

on the plaintiff to "make a prima facie showing of personal

jurisdiction over the defendant." Porina v. Marward Shipping

Co.,   521 F.3d 122, 126   (2d Cir. 2008). "[A] prima facie showing

suffices, notwithstanding any controverting presentation by the

moving party, to defeat the motion." Marine Midland Bank, N.A.

v. Miller, 664 F.2d 899, 904 (2d Cir. 1981). In deciding a

motion to dismiss for lack of personal jurisdiction, the Court

must "construe the pleadings and affidavits in the light most

favorable to plaintiffs, resolving all doubts in their favor."

Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 85

(2d Cir. 2013). But conclusory statements or legal conclusions

"couched" as factual allegations will not do. Jazini v. Nissan

Motor Co., 148 F. 3d 181, 185 (2d Cir. 1998).

                                    B.

       In this case, the Court has personal jurisdiction over EHC

and Mr. Lopez, but not over Ms. Marroqui. Determining personal

jurisdiction over the defendants involves a two-step inquiry.

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d

161, 168 (2d Cir. 2013). First, the Court looks to the law of

the forum state to determine whether personal jurisdiction lies.

Id. To support this Court's exercise of personal jurisdiction

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over the moving defendants, the plaintiff relies on N.Y. CPLR §

302 (a) (1), which provides that personal jurisdiction lies over

any non-domiciliary who in person or through an agent "transacts

any business within the state or contracts anywhere to supply

goods or services in the state," where the cause of action

arises from that connection. Under      §   302 (a) (1), "jurisdiction is

proper even though the defendant never enters New York,         so long

as the defendant's activities here were purposeful and there is

a substantial relationship between the transaction and the claim

asserted." Fischbarg v. Doucet, 880 N.E.2d 22, 26 (N.Y. 2007).

"Purposeful activities are those with which a defendant, through

volitional acts, avails itself of the privilege of conducting

activities within the forum State, thus invoking the benefits

and protections of its laws." Id.

     Second, the Court must determine whether its exercise of

jurisdiction over the particular defendant comports with the

United States Constitution. Licci, 732 F.3d at 168. The Court

must therefore determine (1) "whether a defendant has sufficient

minimum contacts with the forum to justify the court's exercise

of personal jurisdiction over the defendant," and (2)         "whether

the assertion of personal jurisdiction over the defendant

comports with traditional notions of fair play and substantial

justice under the circumstances of the particular case." Waldman

v. Palestine Liberation Orq., 835 F.3d 317, 331        (2d Cir. 2016).

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                                    1.

      The Court has personal jurisdiction over EHC. First, the

plaintiff has satisfied her burden of showing that EHC engaged

in sufficient purposeful conduct in New York and, accordingly,

that jurisdiction is proper under New York's long-arm statute.

The plaintiff alleges that EHC owns and operates two hotels,

including the Front Street Hotel at which the plaintiff was

primarily employed, and employs 22 people in New York, including

-   at one time - the plaintiff. She supports this claim with a

sworn declaration attesting to EHC's ownership of hotels in New

York and to her continued employment by them until her

termination. See ECF No. 33. She also submits, among other

things, her transfer letter to the Front Street Hotel in New

York from October 2017 that bears the "Eurostars" name on the

top, ECF No. 34-14, and her termination letter, ending the

plaintiff's employment in New York that is written on

"Eurostars" letterhead, ECF No. 34-10. This is sufficient to

demonstrate that EHC purposefully conducted activities in New

York within the meaning of§ 302(a) (1). Moreover, because the

plaintiff alleges that she was discriminated against while

employed at one of EHC's New York hotels, and that EHC was in

fact the entity that terminated her, there is plainly a nexus

between the business transacted by EHC in New York - their hotel




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business - and the cause of action - the plaintiff's claim for

unlawful termination from that hotel business.

      While the defendant disputes that EHC operates hotels and

employs people in New York, and that EHC is the "Eurostars group

of hotels" whose name appears on the plaintiff's transfer and

termination letters, Defs.' Reply Mem. 1-2, ECF No. 41,               these

claims are insufficient to rebut the plaintiff's evidence at

this stage. Both the plaintiff and the defendant swear to their

respective positions in declarations submitted to the Court, but

only the plaintiff supports her allegations with evidence. And,

in any event, the Court must construe disputed facts in the

plaintiff's favor. Accordingly, the plaintiff has made a prima

facie showing of jurisdiction under§ 302(a) (1), see Dorchester,

722 F.3d at 86, and jurisdiction over EHC is proper under New

York law. 3

      Second, jurisdiction over EHC comports with constitutional

due process. The requisite minimum contacts analysis "overlaps

significantly" with New York's § 302 (a) (1)          inquiry into whether

a defendant transacted business in the State, Minnie Rose LLC v.

Yu, 169 F. Supp. 3d 504, 515 (S.D.N.Y. 2016), which, for the

reasons given above, is met in this case. The Court's assertion



3 For the reasons explained below, the   Court could also assert personal
jurisdiction over EHC based on a joint   employer theory on the basis of
Front's admitted contacts in New York.   See, e.g., Xiaoyan Liu v. Canteen 82
~ , No. 17-cv-7862, 2018 WL 6067228,     at *4-6 (S.D.N.Y. Nov. 20, 2018).

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of personal jurisdiction is also reasonable. See id.             (listing

factors relevant to this inquiry). The defendant has pointed to

no burden of litigating this case in New York, and New York

State and the plaintiff both have an interest in adjudicating

the case in New York. On balance, the assertion of personal

· jurisdiction over EHC comports with due process. See Licci, 732

F.3d at 170 (noting that it is "rare" and "unusual" for

jurisdiction to be proper under N. Y. CPLR        §   302 ( a) ( 1) but to

violate due process) . EHC' s motion to dismiss for lack of

personal jurisdiction is therefore denied.

                                    2.

     Additionally, the Court has personal jurisdiction over Mr.

Lopez, but not over Ms. Marroqui. N.Y. CPLR § 302(a) (1)             also

confers personal jurisdiction over individual corporate officers

who "supervise and control an infringing activity." See Chloe v.

Queen Bee of Beverly Hills, LLC,         616 F.3d 158, 164     (2d Cir.

2010); accord Kreutter v. McFadden Oil Corp., 522 N.E.2d 40,                 44-

48 (N.Y. 1988). One way that a plaintiff can make this showing

is by alleging that the officer had such "extensive control"

over the day-to-day activities of the corporation that the

corporation's contacts in New York can be imputed to that

defendant. See EMI Christian Music Grp., Inc. v. MP3tunes, LLC,

844 F.3d 79, 98   (2d Cir. 2016).




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     In this case, and at this stage, the plaintiff's

allegations regarding Mr. Lopez are sufficient to establish

personal jurisdiction over him under New York's long-arm statute

and the United States Constitution. The plaintiff alleges, among

other things, that Mr. Lopez is the owner and CEO of EHC and

Front and that, in this role, he "closely surveilled every

aspect of each of [EHC and Front's] business," "micromanage[d]"

his employees, and subjected all employment-related matters of

his hotels to "close oversight." Am. Compl.      '!['I[   52-53, 59, 62.

These allegations include close oversight over the properties

owned by EHC and Front in New York and of their New York

employees. The plaintiff also claims that Mr. Lopez is the only

person with authority to terminate managers, including the

plaintiff, whose job in New York was terminated. Crediting the

plaintiff's allegations, the plaintiff meets her burden of

establishing personal jurisdiction over Mr. Lopez through his

close control of his companies' operations in New York.            See EMI,

844 F.3d at 98; Belabbas v. Inova Software Inc., No. 16-cv-7379,

2017 WL 3669512, at *3    (S.D.N.Y. Aug. 24, 2017). And because the

plaintiff's claim that she was discriminatorily terminated from

her employment with Mr. Lopez's companies arises directly from

Mr. Lopez's businesses transacting business in New York,

personal jurisdiction under CPLR § 302(a) (1) is proper. See id.




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     The exercise of personal jurisdiction over Mr. Lopez is

also consistent with constitutional due process. First, for the

reasons given above, the plaintiff has alleged sufficient facts

to make out a prima facie case that Mr. Lopez purposefully

availed himself of the privilege of doing business in New York,

and that this case arises out of those alleged contacts. See

EMI, 844 F.3d at 98. Second, the Court's exercise of personal

jurisdiction is not unreasonable; the defendant has failed to

present a compelling case to the contrary. See Licci, 732 F.3d

at 173. The plaintiff has therefore met her burden of

establishing personal jurisdiction over Mr. Lopez under both New

York law and the United States Constitution, and Mr. Lopez's

motion to dismiss on this basis is denied.

     However, the Court lacks personal jurisdiction over Ms.

Marroqui. The plaintiff alleges that Ms. Marroqui,        the

International Sales Manager of EHC and Front, was her direct

supervisor between February 2018 and February 2020. As her

supervisor, Ms. Marroqui allegedly controlled the terms and

conditions of the plaintiff's employment, and the two were

allegedly in regular contact during the plaintiff's employment.

But the plaintiff's allegations do not support the claim that

Ms. Marroqui exerted sufficient control over EHC or Front such

that the corporations'   contacts in New York can be imputed to

her. See Trisvan v. Heyman, 305 F. Supp. 3d 381, 394-95

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(E.D.N.Y. 2018). Nor are Ms. Marroqui's other alleged contacts

with New York -   such as her travels to New York approximately

four times per year for work-related matters -       sufficient to

establish minimum contacts under either New York's long-arm

statute or the United States Constitution. Absent such minimum

contacts, personal jurisdiction over Ms. Marroqui is improper.

Ms. Marroqui's motion to dismiss for lack of personal

jurisdiction is therefore granted.

                                   IV.

                                   A.

     The defendants also move to dismiss on the basis of Federal

Rule of Procedure 12 (b) (6) for failure to state a claim. In

deciding a motion to dismiss pursuant to Rule 12 (b) (6), the

allegations in the complaint are accepted as true, and all

reasonable inferences must be drawn in the plaintiff's favor.

McCarthy v. Dun   &   Bradstreet Corp., 482 F.3d 184, 191 (2d Cir.

2007) . The Court should not dismiss the complaint if the

plaintiff has stated "enough facts to state a claim to relief

that is plausible on its face." Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). "A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the

misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).

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     While the Court should construe the factual allegations in

the light most favorable to the plaintiff,       "the tenet that a

court must accept as true all of the allegations contained in

the complaint is inapplicable to legal conclusions." Id. When

presented with a motion to dismiss pursuant to Rule 12(b) (6),

the Court may consider documents that are referenced in the

complaint, documents that the plaintiff relied on in bringing

suit and that are either in the plaintiff's possession or that

the plaintiff knew of when bringing suit, or matters of which

judicial notice may be taken. See Chambers v. Time Warner, Inc.,

282 F .3d 147, 153   (2d Cir. 2002).

                                   B.

     The plaintiff's amended complaint raises the following

claims against the defendants:     (1) direct pregnancy

discrimination in violation of the NYSHRL and the NYCHRL, and,

in the case of EHC and Front, Title VII;       (2) aiding and abetting

pregnancy discrimination in violation of the NYSHRL and the

NCYHRL;   (3) direct age discrimination in violation of the NYSHRL

and the NYCHRL; and (4) aiding and abetting age discrimination

in violation of the NYSHRL and the NCYHRL. EHC and Mr. Lopez

move to dismiss all of the claims against them. Front only moves

to dismiss the plaintiff's age discrimination claims.

     The defendants make several arguments, which the Court

considers in turn:   (1)   that EHC and Mr. Lopez were not the

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plaintiff's "employer" under the NYSHRL,' NYCHRL or, in the case

of EHC, Title VII;    (2)   that the plaintiff has not alleged facts

amounting to pregnancy discrimination; and (3) that the

plaintiff has not alleged facts amounting to age discrimination.

                     1. Employment Relationships

                                  a. EHC

     First, construing the facts in the plaintiff's favor, the

amended complaint plausibly alleges that EHC is subject to

liability as the plaintiff's "employer" under Title VII, the

NYSHRL, and the NYCHRL.

     For a corporate defendant to be liable for alleged

discrimination under Title VII, the NYSHRL, and the NYCHRL, the

defendant must qualify as the plaintiff's "employer." See Farmer

v. Shake Shack Enters., LLC, 473 F. Supp. 3d 309, 321 (S.D.N.Y.

2020). To determine whether a corporate defendant is a direct

employer under these statutes, the individual must, at the very

least, receive renumeration from the defendant. O'Connor v.

Davis, 126 F.3d 112, 116 (2d Cir. 1997). But a corporate

defendant need not be a plaintiff's direct employer to be liable

under these statutes. Farmer, 473 F. Supp. 3d at 322-23. "Under

the joint employer doctrine, an employee, formally employed by

one entity, who has been assigned to work in circumstances that

justify the conclusion that the employee is at the same time

constructively employed by another entity, may impose liability

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for violations of employment law on the constructive employer,

on the theory that this other entity is the employee's joint

employer." Id. at 322 (quoting Arculeo v. On-Site Sales         &   Mktg.,

LLC,   425 F.3d 193, 198   (2d Cir. 2005)). "Factors courts have

used to examine whether an entity constitutes a joint employer

of an individual include commonality of hiring,       firing,

discipline, pay, insurance, records, and supervision." Farmer,

473 F. Supp. at 323. An "essential element" of such a finding is

"sufficient evidence of immediate control over the employees."

Id. at 322-32 (citing Serv. Emps. Int'l Union, Local 32BJ v.

NLRB, 647 F. 3d 435, 442   (2d Cir. 2011)).

       In this case, the plaintiff alleges that EHC was her direct

employer. However, the plaintiff does not sufficiently allege

that she received renumeration from EHC -      for example, by

pleading facts relating to her salary in the amended complaint

or providing copies of her pay checks with her complaint - and

liability on this ground is therefore precluded.

       However, the plaintiff has adequately pleaded facts

demonstrating that EHC and Front operated as her joint

employers, and EHC may therefore be liable under Title VII, the

NYSHRL, and the NYCHRL. The defendants concede that Front was

the plaintiff's employer. The plaintiff's allegations in her

amended complaint, as well as in the documents referenced in the

amended complaint, suffice to establish that, between Front and

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EHC, there is commonality of hiring, firing, pay, and

supervision, and that both exercise immediate control over

employees. In particular, the plaintiff claims that she was

hired by Mr. Lopez, the owner and CEO of both EHC and Front, and

that she had duties at both EHC and Front hotels in New York.

She alleges that the terms of her employment - including her

benefits, such as maternity benefits - were controlled by EHC,

whose contract with her governed at the time of her termination.

Additionally, the plaintiff alleges that she was terminated by a

letter written on "Eurostars" letterhead and signed by a

representative of Front. Viewing the facts in the light most

favorable to the plaintiff, the plaintiff's allegations are

sufficient at this stage to establish that EHC and Front

operated as her joint employers, and that EHC is therefore

subject to liability under Title VII, the NYSHRL, and the

NYCHRL.

                             b. Mr. Lopez

     Mr. Lopez is also subject to liability under the NYCHRL and

the NYSHRL, although not as the plaintiff's "employer." Under a

recent decision by the New York Court of Appeals, a corporate

employee - even its owner and CEO - no longer qualifies as an

"employer" under these statutes. Doe v. Bloomberg, L.P., 167

N.E.3d 454, 459-61 (N.Y. 2021). However, Mr. Lopez is not

thereby immune from liability: both the NYCHRL and the NYSHRL

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provide alternative bases for individual liability that may be

applicable here. Indeed, under the NYCHRL,             individual employees

may incur liability for their own discriminatory conduct,             as

well as for "aiding and abetting such conduct by others, or for

retaliation against protected conduct." Id. at 460. And, under

the NYSHRL, individual employees may be liable for aiding and

abetting discriminatory conduct. See N.Y. Exec. Law§ 296(6);

see also Bonaffini v. City Univ. of N.Y., No. 20-cv-5118, 2021

WL 2895688, at *2         (E.D.N. Y. July 9, 2021).

      Because EHC and Mr. Lopez can be subject to liability under

the relevant statutes, it is necessary to determine whether the

plaintiff has stated a claim under the relevant statutes.

                           2. Pregnancy Discrimination

      The plaintiff first alleges that Front, EHC, and Mr. Lopez

discriminated against her on the basis of her pregnancy status

in violation of the NYSHRL and the NYCHRL, and as to EHC and

Front only, in violation of Title VII. EHC and Mr. Lopez move to

dismiss these claims for failure to state a claim.

                                a. Title VII Claim4

      The amended complaint states a claim against EHC for

pregnancy discrimination under Title VII. Title VII makes it



4
  The plaintiff abandoned her Title VII claim against Mr. L6pez in her
opposition brief. In any event, because Title VII does not provide for
individual liability, this claim would be dismissed. See Wrighten v. Glowski,
232 F.3d 119,   120   (2d Cir. 2000)   (per curiam).

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unlawful for an employer to discriminate on the basis of "race,

color, religion, sex, or national origin." 42 U.S.C. § 2000e-

2 (a). Title VII's prohibition against gender discrimination

includes a prohibition against pregnancy discrimination. Young

v. United Parcel Serv., Inc., 575 U.S. 206, 135 S. Ct. 1338,

1353    (2015). "A plaintiff can establish a prima facie case of

pregnancy discrimination under Title VII by showing that:                    (1)

she is a member of a protected class;           (2) she satisfactorily

performed the duties required by the position;           (3)       she was

discharged; and (4) her position remained open and was

ultimately filled by a non-pregnant employee .                     [or]   the

discharge occurred in circumstances giving rise to an inference

of unlawful discrimination." Quaratino v. Tiffany              &   Co., 71 F.3d

58, 64     (2d Cir. 1995). However, a plaintiff is not required to

plead a prima facie case of discrimination to defeat a motion to

dismiss. See Vega v. Hempstead Union Free Sch. Dist., 801 F.3d

72, 84    (2d Cir. 2015); Orosz v. Regeneron Pharms.,              Inc., No.       15-

cv-8504, 2016 WL 11484449, at *3           (S.D.N.Y. Aug. 30, 2016),

report and recommendation adopted, No. 15-cv-8504, 2016 WL

6083993 (S.D.N.Y. Oct. 17, 2016). To survive a motion to

dismiss, a plaintiff alleging discrimination need only assert

sufficient nonconclusory factual matter to nudge her claims

across the line from conceivable to plausible. Vega, 801 F.3d at

84.

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     In this case, the plaintiff has pleaded facts that provide

at least minimal support for the proposition that EHC was

motivated by discriminatory intent - namely, pregnancy

discrimination -   in terminating her, and she has therefore

stated a claim under Title VII. See Littlejohn v. City of New

York, 795 F. 3d 297, 311 (2d Cir. 2015). EHC does not appear to

dispute that the plaintiff is a member of a protected class,

given that she was a pregnant woman at the time of her

termination; that she satisfactorily performed the duties

required by her position; or that she was discharged. The

defendant also does not appear to dispute that the plaintiff's

termination occurred in circumstances giving rise to an

inference of discrimination - nor could it. The plaintiff was

terminated five days after she informed Ms. Marroqui that she

was pregnant. The short temporal proximity between the time that

the plaintiff disclosed her pregnancy and her termination - only

five days - more than suffices to establish an inference of

unlawful discrimination. See Lenzi v. Systemax, Inc., 944 F.3d

97, 108 (2d Cir. 2019). Because the plaintiff has pleaded facts

that give rise to a plausible inference of discrimination, and

facts to support her contention that EHC was her "employer"

within the meaning of Title VII, EHC's motion to dismiss the

plaintiff's pregnancy discrimination claims under Title VII is

denied.

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                 b. Direct NYSHRL and NYCHRL Claims

       The plaintiff has also stated a claim against EHC for

pregnancy discrimination under the NYSHRL and the NYCHRL.

However, her direct claims against Mr. Lopez survive only under

the NYCHRL.

       Courts must analyze NYCHRL claims separately from any

federal law claims and should construe the NYCHRL "liberally for

the accomplishment of the uniquely broad and remedial purposes

thereof." Mihalik v. Credit Agricole Cheuvreux N. Am., Inc., 715

F.3d 102, 109 (2d Cir. 2013). In August 2019, the NYSHRL was

amended to direct courts to construe the NYSHRL, like the

NYCHRL, "liberally for the accomplishment of the remedial

purposes thereof, regardless of whether federal civil rights

laws including those laws with provisions worded comparably to

the provisions of [the NYSHRL] have been so construed." N.Y.

Exec. Law§ 300. Applying this standard, to establish a

pregnancy discrimination claim, "the plaintiff need only show

differential treatment - that she is treated 'less well'

because of a discriminatory intent." See Mihalik, 715 F.3d at

110.

       In this case, because the plaintiff has stated a claim

against EHC for pregnancy discrimination under the stricter

Title VII standard, she has stated a claim under the NYCHRL and

the NYSHRL. See Farmer, 473 F. Supp. 3d at 327; Smith v. City of

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New York, No. 16-cv-9244, 2018 WL 3392872, at *6 (S.D.N.Y. July

12, 2018). EHC' s motion to dismiss the plaintiff's pregnancy

discrimination claims under the NYCHRL and the NYSHRL is

therefore denied.

      The plaintiff's direct claim against Mr. Lopez under the

NYCHRL also survives. "The NYCHRL provides a broader basis for

direct individual liability than the NYSHRL." Xiang v. Eagle

Enters., LLC, No. 19-cv-1752, 2020 WL 248941, at *6 (S.D.N.Y.

Jan. 16, 2020). As relevant here, the NYCHRL makes it an

unlawful discriminatory practice for an employer or an employee

or agent thereof, because of the gender or sexual and

reproductive health decisions of an employee, to discharge that

employee from employment. N.Y.C. Admin. Code§ 8-107(1) (a).

     In this case, the plaintiff alleges that Mr. Lopez was the

central decisionmaker in her termination. She claims that, as

the CEO of both EHC and Front, he exerted significant control

over both entities' labor relations and, in particular, the

terms and conditions of the plaintiff's employment. While Mr.

Lopez did not sign his name on her termination letter or

terminate her himself, the facts pleaded in the plaintiff's

complaint allow the reasonable inference that Mr. Lopez was a

decisionmaker in her termination, and therefore that Mr. Lopez

is liable under the NYCHRL for "participat [ing]      in the conduct

giving rise to the discrimination claim." See Xiang, 2020 WL

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248941, at *6. Mr. Lopez's motion to dismiss the plaintiff's

direct claim under the NYCHRL is therefore denied.

     However, because the NYSHRL includes no similar provision

for direct employee liability, Mr. Lopez's motion to dismiss the

plaintiff's direct claim under the NYSHRL is granted.

                   c. Aiding-and-Abetting Claims

     The plaintiff's aiding-and-abetting claims state a claim

against Mr. Lopez, but not against EHC.

     Both the NYSHRL and the NYCHRL make it unlawful "for any

person to aid, abet, incite, compel or coerce the doing of any

of the acts forbidden under this article [or chapter], or

attempt to do so." See N.Y. Exec. Law§ 296(6); N.Y.C. Admin.

Code § 8-107 (6) . Under this framework,    "a co-worker who actually

participates in the conduct giving rise to a discrimination

claim can be held individually liable as an aider and abettor."

Bonaffini, 2021 WL 2895688, at *2. "This extends to personal

liability for aiding and abetting allegedly unlawful

discrimination by an employer even where an individual

defendant's actions serve as the predicate for the employer's

vicarious liability, so long as the employer's conduct has also

been found to be discriminatory under the NYSHRL." Farmer, 473

F. Supp. 3d at 337.

     For the same reasons that the plaintiff has plausibly

alleged that Mr. Lopez is directly liable under the NYCHRL, she

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has plausibly alleged that he is liable as an aider-and-abettor

of EHC's conduct under the NYSHRL and the NYCHRL. See Xiang,

2020 WL 248941, at *7.    The plaintiff has pleaded facts

sufficient to raise an inference that Mr. Lopez actually

participated in the plaintiff's termination: he was allegedly

the main decisionmaker in her termination. This is "the kind of

direct, purposeful participation that aiding and abetting

liability requires." See Bonaffini, 2021 WL 2895688, at *3; see

also Farmer, 473 F. Supp. 3d at 337-38. Accordingly, Mr. Lopez's

motion to dismiss the plaintiff's aiding-and-abetting claims

under the NYSHRL and the NYCHRL is denied.

     However, the plaintiff's aiding-and-abetting claims against

EHC must be dismissed. There can be no aider-and-abettor

liability as to a corporate defendant for aiding and abetting

its own conduct, nor can it be liable for aiding the individual

defendants to aid its own conduct. Xiang, 2020 WL 248941, at

*11. EHC's motion to dismiss the plaintiff's aiding-and-abetting

claims under both the NYSHRL and the NYCHRL is therefore

granted.

                         3. Age Discrimination

     The plaintiff also alleges that the defendants

discriminated against her on the basis of her age in violation

of the NYSHRL and the NYCHRL. As with her pregnancy

discrimination claims, the plaintiff brings both direct and

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aiding-and-abetting claims against the defendants under the

NYSHRL and the NYCHRL. All of the defendants challenge the

sufficiency of the plaintiff's claims against them.

                        a. NYSHRL and NYCHRL Claims

      The plaintiff fails to state a claim for age discrimination

under the NYSHRL and the NYCHRL. Claims for age discrimination

under the NYSHRL and the NYCHRL,        like pregnancy discrimination

claims, must be construed liberally. Chauca v. Abraham,         841 F.3d

8 6, 8 7-88   (2d Cir. 2016) . Nonetheless, the plaintiff "still

bears the burden of showing that the conduct is caused by a

discriminatory motive." Mihalik,        715 F.3d at 110. That is, the

plaintiff must allege facts permitting an inference that she was

treated "less well at least in part because of her [age]." See

id.; see also Moore v. Verizon, No. 13-cv-6467, 2016 WL 825001,

at *8 (S.D.N.Y. Feb. 5, 2016).

      In this case, the plaintiff's claims against EHC, Front,

and Mr. Lopez must be dismissed because, even construing her

allegations in the light most favorable to her, the plaintiff

has failed to plead any facts that plausibly allege that her

termination occurred under circumstances giving rise to even a

minimal inference of discrimination. The plaintiff argues that

the defendants fired her because she underwent IVF treatment in

order to become pregnant, and that because older women are more

likely to require IVF procedures, her termination raises an

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inference of age discrimination. As the defendants rightly point

out, however, "IVF-assisted reproductive technology is not only

for 'older mothers."' Defs.' Reply Mem. 9. But even accepting

the plaintiff's argument as true, the purported association of

IVF with older women, without more, does not raise the requisite

inference that her termination was motivated by age

discrimination. Nor has the plaintiff pleaded any facts

suggesting that any relevant decisionmaker made ageist

criticisms or comments, or that those outside of her protected

class were treated differently from her. Also missing from the

plaintiff's pleadings is any claim that she was replaced by a

younger employee. Absent these sorts of facts supporting her

claim, the plaintiff's age discrimination claims under the

NYSHRL and the NYCHRL amount to nothing more than a claim that,

because the plaintiff was terminated when she was over forty

years old, the defendants must have discriminated against her.

The plaintiff's age at termination, alone,           "is plainly

insufficient to give rise to a minimal plausible inference of

age discrimination." Wexler v. Al legion (UK) Ltd., No. 16-cv-

2252, 2017 WL 946301, at *4       (S .D.N. Y. Mar.   9, 2017) . 5




5 The plaintiff alleges in her amended complaint that EHC has a pattern or
practice of discriminating against older women. However, her opposition brief
does not rely on these claims to raise an inference of discrimination and,
accordingly, this pattern-or-practice claim, to the extent it was even
pleaded, is treated as abandoned. See Malik v. City of New York, 841 F. App'x
281, 284 (2d Cir. 2021).

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Accordingly, the defendants' motion to dismiss the plaintiff's

claims under the NYSHRL and the NYCHRL for age discrimination is

granted.

                     b. Aiding-and-Abetting Claims

     The plaintiff's aiding-and-abetting claims must also be

dismissed. Without a predicate act of employment discrimination

under the NYSHRL or the NYCHRL, there can be no aiding-and-

abetting claim. See Farmer,    473 F. Supp. 3d at 338; Seitz v. New

York, No.   2:18-cv-4149, 2019 WL 4805257, at *22      (E.D.N.Y. Sept.

30, 2019). The defendants' motion to dismiss the plaintiff's

aiding-and-abetting claims under the NYSHRL and the NYSHRL is

therefore granted.

                                   V.

     The Court has considered all of the arguments of the

parties. To the extent not discussed above, the arguments are

either moot or without merit.

     For the foregoing reasons, the defendants' motion to

dismiss is granted in part and denied in part. The plaintiff's

claims against Ms. Marroqui are dismissed in their entirety. Of

the plaintiff's remaining claims against the defendants, Count I

is dismissed as to Mr. Lopez; Count II is dismissed as to Mr.

Lopez; Count III is dismissed as to all of the defendants; Count

IV is dismissed as to EHC; Count Vis dismissed as to all of the

defendants; Count VII is dismissed as to all of the defendants;

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Count VIII is dismissed as to EHC; and Count IX is dismissed as

to all of the defendants.

     The Clerk is directed to close Docket No. 23.



SO ORDERED.


Dated:    New York, New York
          January 7, 2022
                                                      Koeltl
                                        United States District Judge




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